Case 2:05-cr-20127-.]DB Document 26 Filed 06/13/05 Page 1 of 2 Page|D 17

..."_ ..-~,“.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. CR. NO. 05-20l27-Ma

BHUTTER HARDEEP SINGH,

Defendant.

-../~_/-_’~_/~_/~._/~._/~._/~._/

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l, 2005. Counsel
requested a continuance of the trial date in order to allow for
additional preparation in the case and due to the unavailability of
Defense Counsel during the July rotation docket.

The Court granted the request and Continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period fronl May 3l, 2005 through, August l2, 2005 is
excludable under 18 U.S.C. §§ ZlSl(h)(B)(B){iv) and
3lél(h)(8)(A}(iv) because the interests of justice in allowing
additional time to prepare and continuity of defense counsel
outweigh the need for a speedy trial.

IT IS SO ORDERED this LBJ" day of June, 2005.

m me ky

. ,4 ,….,.,nr¢wwedonthedocket 6 T‘ . SAMUEL H_ MAYs, JR.
Th=* #" ' @rp on UNITED sTATEs DIsTRIcT JUDG
.. ~ ,' ‘.=md!sr 3203) FR

 

UNITED sTATE mle CoURT - WESRNTE D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20127 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

